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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION

                                              §      Chapter 11
 In re:                                       §
                                              §      Case No. 20-43597-399
 BRIGGS & STRATTON                            §
 CORPORATION, et al.,                         §      (Jointly Administered)
                                              §
                Debtors.                      §      Hearing Date: March 10, 2021
                                              §      Hearing Time: 9:00 a.m. (Central Time)
                                              §      Hearing Location: Courtroom 5-North

                      PROPOSED AGENDA FOR HEARING
                  ON MARCH 10, 2021 AT 9:00 A.M. (PREVAILING
          CENTRAL TIME) AND INSTRUCTIONS FOR TELEPHONIC HEARING

 Parties may appear in person, by telephone or (optionally) via video conferencing for the Briggs
 & Stratton hearing scheduled at 9:00 a.m. Central Time on Wednesday, March 10, 2021.

 Location of Hearing:      United States Bankruptcy Court for the Eastern District of Missouri,
                           Thomas F. Eagleton U.S. Courthouse, before the Honorable Barry S.
                           Schermer, Courtroom 5-North, 111 South 10th Street, St. Louis, MO
                           63102

 Instructions for
 Telephonic & Video
 Hearing:
                            No later than March 8, 2021, the Court will send a Cisco WebEx invite
                            to all parties who have either received prior Cisco WebEx invites or
                            have contacted Judge Schermer’s Courtroom Deputy, Craig Spidle,
                            directly to make an initial request to appear remotely. (Parties are not
                            required to make a request to appear remotely for each hearing.)
                            When accessing the audio, participants must join Cisco WebEx first
                            via a computer and join the call second (either through the Call-In
                            option and enter an attendee ID or through the “Call me at” option). All
                            participants must mute their phone lines immediately after joining the
                            call. Phones shall not be placed on “hold”. If speaking, the Court
                            strongly suggests the use of hand-held receivers or headphones in lieu
                            of using speakers on telephones and computers. Participants may
                            unmute their phone lines and speak only when directed by Judge
                            Schermer. If appearing by video, select the “Hand Raised” feature and
                            wait until Judge Schermer addresses you. When speaking, please keep
                            all background noise to a minimum to prevent audio interference or
                            feedback. After speaking, please place your telephone back on mute.
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                          If there is a problem connecting to Cisco WebEx audio, please
                          disconnect your phone line and re-dial. If there is an issue gaining
                          access to the video feed, please log out of Cisco WebEx then login. If
                          the    issue     persists,    please    e-mail    Mr.    Spidle     at
                          Craig_Spidle@moeb.uscourts.gov promptly and we will work on
                          resolving the issue.

                          The Court’s official announcement will be posted on the Court’s
                          website: https://www.moeb.uscourts.gov/sites/moeb/files/BSS-
                          Appearances_for_Briggs_Stratton_ATT_call_info.pdf and
                          https://www.moeb.uscourts.gov/briggs-stratton-corporation-et-al.
                          Instructions for appearances may also be found on
                          http://www.kccllc.net/briggs.


                                       MOTIONS
  Item Number                    Motion                             Attorney Presenting
        1     Motion of the Plan Administrator for Entry of         Dormie Yu Heng Ko
              an Order (I) Establishing Deadlines for Filing
              General Administrative Expense Claims and
              Governmental      Administrative     Expense
              Claims; and (II) Approving the Form and
              Manner of Notice Thereof [Docket No. 1604]
              – WITHDRAWN.

                 Related Documents:
                 Withdrawal of Motion of the Plan
                 Administrator for Entry of an Order (I)
                 Establishing Deadlines for Filing General
                 Administrative    Expense    Claims    and
                 Governmental     Administrative   Expense
                 Claims; and (II) Approving the Form and
                 Manner of Notice Thereof [Docket No. 1625].

                 Objections: No objections filed.
        2        Final Application for Allowance of              Attorneys for Doster, Ullom
                 Compensation for Professional Services                & Boyle, LLC
                 Rendered and for Reimbursement of Actual
                 and Necessary Expenses of Doster, Ullom &
                 Boyle, LLC, Local Counsel for the Official
                 Committee of Unsecured Creditors for the
                 Period from August 10, 2020 Through
                 January 6, 2021 [Docket No. 1609].
        3        Sixth Monthly and Final Application of             Attorneys for Brown
                 Brown Rudnick LLP as Counsel for the                  Rudnick LLP
                 Official Committee of Unsecured Creditors
                 for Allowance of Compensation and

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                Reimbursement of Expenses Incurred for the
                Period January 7, 2021 Through January 31,
                2021 and for the Total Compensation Period
                from August 10, 2020 Through January 6,
                2021 [Docket No. 1610].
       4        Final Application of Berkley Research Group,     Attorneys for Berkley
                LLC for Compensation for Services Rendered       Research Group, LLC
                and Reimbursement of Expenses Incurred as
                Financial Advisor to the Official Committee
                of Unsecured Creditors During the Period
                from August 11, 2020 Through January 6,
                2021 [Docket No. 1611].

        OBJECTION TO PROPOSED ASSUMPTION AND ASSIGNMENT OF
              EXECUTORY CONTRACTS AND UNEXPIRED LEASES
  Item Number                   Objection              Attorney Presenting
               Deere & Company’s Limited Objection and Attorneys for Deere &
               Reservation of Rights [Docket No. 858].       Company




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 Dated: March 8, 2021
        St. Louis, Missouri
                                         Respectfully submitted,

                                         CARMODY MACDONALD P.C.

                                           /s/ Robert E. Eggmann
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                                         Attorneys for the Plan Administrator




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